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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                      Western District
                                                  __________  District of
                                                                       of __________
                                                                          Texas


                     DANIEL VILLEGAS                              )
                             Plaintiff                            )
                                v.                                )      Case No.   3:15-cv-386
                 CITY OF EL PASO et al.,                          )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff Daniel Villegas                                                                                            .


Date:          06/06/2019                                                                     s/ Alison R. Leff
                                                                                             Attorney’s signature


                                                                                          Alison R. Leff, 6296422
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                        CERTIFICATE OF SERVICE

      I, Alison R. Leff, an attorney, certifify that on June 6, 2019, I caused the
foregoing Attorney Appearance to be served on all counsel of record via electronic
mail.

                                                  /s/ Alison R. Leff
